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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                               §
  In re:                                       §     Chapter 11 (Subchapter V)
  FREE SPEECH SYSTEMS LLC,                     §
  .                                            §     Case No. 22-60043 (CML)
                                               §
                                 Debtor.       §     Jointly Administered


                    NOTICE OF RULE 2004 SUBPOENA DUCES TECUM

          TO:    PQPR Holdings Limited, LLC, by and through its counsel of record, Stephen
                 Lemmon, Streusand, Landon, Ozburn & Lemmon, LLP 1801 S. MoPac
                 Expressway, Suite 320, Austin, Texas 78746.

          Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure and Rule

2004-1 of the Bankruptcy Local Rules of the Southern District of Texas, Melissa Haselden

(“Subchapter V Trustee”) hereby serves the attached Rule 2004 Request upon PQPR Holdings

Limited, LLC (“PQPR”) and requests production of the documents listed in Exhibit A attached

hereto.

          The Debtors must produce the requested documents listed on the Subpoena Duces Tecum

attached hereto as Exhibit A to the undersigned counsel at the offices of Jackson Walker LLP,

100 Congress Ave., Suite 1100, Austin, Texas 78701 within fourteen (14) days of service of this

Notice. Alternatively to physical production, PQPR may produce the requested documents

electronically via ShareFile.



                                              Dated: October 7, 2022

                                              /s/ Elizabeth Freeman
                                              JACKSON WALKER LLP
                                              Elizabeth Freeman (TX Bar No. 2400922)
                                              Sean Gallagher (TX Bar No. 24101781)

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                              1401 McKinney Street, Suite 1900
                              Houston, TX 77010
                              Telephone: (713) 752-4200
                              Facsimile: (713) 752-4221
                              Email: efreeman@jw.com
                              Email: sgallagher@jw.com

                              Proposed Counsel for Melissa Haselden,
                              Subchapter V Trustee




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                               CERTIFICATE OF SERVICE

       I certify that on October 7, 2022 a true and correct copy of the above and foregoing was
served via CM/ECF to all parties registered to receive electronic notice.

                                            /s/ Elizabeth Freeman
                                            Elizabeth Freeman




                            CERTIFICATE OF CONFERENCE

       I certify that on October 7, 2022, I conferred with counsel for PQPR regarding this Notice
of Rule 2004 Subpoena Duces Tecum.

                                            /s/ Elizabeth Freeman
                                            Elizabeth Freeman
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                                          DEFINITIONS

All definitions apply throughout without regard to capitalization. Terms are defined as follows:

       1.     The terms “and” and “or” are to be read and applied inclusively to have the broadest
reasonable meaning.

       2.      The terms “any” or “all” are synonymous and are to be read and applied inclusively
to have the broadest reasonable meaning.

        3.       “Agreement” means a contract, arrangement, or understanding, formal or informal,
oral or written.

       4.      “          refers to                        .

      5.     “Blue Ascension” refers to Blue Ascension Logistics, LLC, the warehouse logistics
company currently employed by or on behalf of PQPR.

       6.     “Communication” shall mean and include, without limitation, any documents,
telephone conversations, discussions, facsimiles, e-mails, meetings, memorandum and any other
medium through which any information is conveyed.

        7.      The terms “concerning,” “regarding,” “relating to,” “referring to,” and “arising out
of” are to be understood in their broadest sense and each means concerning, constituting,
identifying, evidencing, summarizing, commenting upon, referring to, relating to, arising out of,
describing, digesting, reporting, listing, analyzing, studying, discussing, stating, setting forth,
reflecting, interpreting, concerning, recording, including, negating, manifesting, containing,
consisting of, dealing with, comprising, or in any way pertaining to the subject matter identified,
in whole or in part.

        8.      The terms “document” or “documents” have the broadest meaning that can be
ascribed to them, including, without limitation, all final forms and all drafts and revisions of any
type of written or graphic matter, original or reproduced, and all copies thereof which are different
in any way from the original, regardless of whether designated “confidential,” “privileged,” or
otherwise restricted. Without limiting the foregoing, the term “document” includes video tapes,
films, audio tapes, electronic mail, computer disks, compact disks, books, papers, letters,
telegrams, memoranda, communications, minutes, notes, schedules, tabulations, vouchers,
accounts, statements, affidavits, reports, abstracts, agreements, contracts, diaries, calendars, plans,
specifications, drawings, sketches, photographs, charts, graphs and other similar objects,
summaries or records of telephone conversations, and any kind of transcript, transcription or
recording of any conversation, discussion or oral presentation of any kind, and any information
stored on and reproducible in documentary form from a computer or other electronic information
storage device.

       9.      “FSS” refers to Free Speech Systems, LLC.

       10.    The terms “Person” and “Persons” mean any and all natural persons, male or
female, and all types and kinds of businesses or other entities, including, but not limited to,
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corporations, partnerships, joint ventures, sole proprietorships, and governmental agencies (state
or federal) or their employees.

       11.     “PQPR” refers to PQPR Holdings Limited, LLC.

      12.     “Promissory Notes” refers to those certain agreements between PQPR and FSS on
August 13, 2020 and November 10, 2021.

       13.      The terms “you” and “your” shall mean PQPR and each of its current or former
subsidiaries, affiliates, parents, predecessors and successors, legacies, divisions, departments and
operating units, funds, any Persons acting on its behalf or under its control, and its respective
advisors, attorneys, agents, directors, employees, members, partners, representatives, and staff.

       14.     The use of the singular form of any word includes the plural and vice versa.

       15.     The past tense shall include the present tense and vice versa.
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                                         INSTRUCTIONS

       1.     In responding to these requests, furnish all information that is available to PQPR
regardless of whether the records are possessed directly by the PQPR or the PQPR’s agents,
attorneys, employees, representatives, superiors, or investigators.

       2.       If any records cannot be produced in full, PQPR should produce to the extent
possible, specifying the PQPR’s reason(s) for its inability to produce the records in full and stating
whatever information, knowledge, or beliefs the PQPR has concerning the unproduced portion.

        3.     For a record that no longer exists or cannot be located, identify the record, state
how and when it passed out of existence or when it could no longer be located, and give the reasons
for the disappearance. Also, identify each person having knowledge about the disposition or loss,
and identify each document evidencing the existence or nonexistence of each record that cannot
be located.

        4.      If any record, or any part of a record, called for herein has been destroyed,
discarded, lost, or otherwise disposed of or placed beyond the PQPR’s custody or control, then it
shall furnish a list setting forth as to each such record (a) the paragraph(s) of this request which
call for the production of the record; (b) the type of record (e.g., statement of account, email); (c)
the identity of the author(s) or prepare(s) of the record; (d) the identity of the addressee(s) and of
every other person who received, read, viewed, or has had access to the record; (e) the date of the
record; (f) the subject matter(s) of the record and title, if any, of the record; (g) the date of
destruction or other disposition of the record; (h) the reason(s) for destruction or other disposition;
(i) the person authorizing destruction or other disposition; and (j) the person(s) destroying or
disposing of the record.

       5.      If after producing the records, PQPR obtains or become aware of any further
records that are responsive to the requests for production, PQPR must timely produce such
additional records.

       6.      If PQPR, after investigation, determines that it has no records that are responsive
to a Request, PQPR’s statement that it has no such records constitutes a representation that it has
conducted a search for the records and represents that it has no records that are responsive.

        7.     To the extent that PQPR has previously produced in this case a record responsive
to the requests contained herein, it need not produce such record again in connection with these
requests.

        8.     To the extent that any of the following requests for production may call for what
PQPR believes to be information subject to a claim of privilege, answer so much of each Request
for Production and each part thereof as does not request, in PQPR’s view, privileged information
and set forth, in writing in a privilege log, with particularity, the basis for PQPR’s claim of
privilege with respect to the information it withholds, including the sender and recipient of the
information and the date the information was created (“Privilege Log”), and provide a copy of the
Privilege Log contemporaneously with PQPR’s production of the records requested in the
Requests for Production.
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       9.     The scope, definitions, and instructions applicable to these discovery requests are
coextensive with the applicable sections of the Federal Rules of Civil Procedure, and each
discovery request requires the production of documents and information to the fullest extent
permitted under the Federal Rules of Civil Procedure and the Federal Rules of Bankruptcy
Procedure.

        10.     You are requested to serve copies of all responsive documents with your response
pursuant to Federal Rule of Civil Procedure 34. However, if responsive documents are
voluminous, produce the responsive documents for inspection at the office of Jackson Walker LLP,
100 Congress Ave., Suite 1100, Austin, Texas 78701. You may also produce documents
electronically to proposed counsel to the Subchapter V Trustee via email to efreeman@jw.com
and sgallagher@jw.com.

        11.    In producing documents, please produce them in their original form. Documents
shall be produced in the same sequence as they are contained or found in their original file folder.
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                                            EXHIBIT A

                                  DOCUMENTS REQUESTED

REQUEST FOR PRODUCTION NO. 1: All master services agreements between PQPR and

FSS.

REQUEST FOR PRODUCTION NO. 2: Any written agreements between PQPR and FSS.

REQUEST FOR PRODUCTION NO. 3: All communications between PQPR and FSS

concerning the managerial relationship between PQPR and FSS.

REQUEST FOR PRODUCTION NO. 4: All advertising agreements between PQPR and FSS.

REQUEST FOR PRODUCTION NO. 5: All agreements between PQPR and FSS regarding

product procurement.

REQUEST FOR PRODUCTION NO. 6: All communications between PQPR and FSS

regarding the Promissory Notes.

REQUEST FOR PRODUCTION NO. 7: All internal communications or meeting minutes of

PQPR regarding the Promissory Notes.

REQUEST FOR PRODUCTION NO. 8: All communications related to profit distributions by

PQPR from January 1, 2016 through the present.

REQUEST FOR PRODUCTION NO. 9: All communications related to PQPR’s tax liability

from January 1, 2016 through the present.

REQUEST FOR PRODUCTION NO. 10: Copies of all invoices relating to product PQPR sold

through or supplied to FSS from 2016 to the present.

REQUEST FOR PRODUCTION NO. 11: Documents sufficient to show how the amounts FSS

owed to PQPR were calculated or determined from June 2016 through December 2018.

REQUEST FOR PRODUCTION NO. 12: Documents sufficient to show how the amounts FSS

paid to PQPR were calculated or determined from June 2016 through December 2018.
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           o                       ;

           o                   ;

           o                           ;

           o Blue Ascension;

           o Patrick Riley;

           o Elevated Solutions 512 Group Holdings, LLC fka ESG Holdings, LLC;

           o Patriot Collectibles;

           o Joe Dalessio;

           o MRJR;

           o Acuity CxO;

           o Robert Roe;

           o AEJ Holdings, Inc.;

           o AEJ Austin Holdings Logistics, LLC;

           o Alex Jones;

           o Dr. David Jones;

           o Dr. J’s Naturals; and

           o Healthy Happy Body

REQUEST FOR PRODUCTION NO. 24: Copies of any and all payments made for rent or

leasing of office, warehouse, studio, or storage space for the last two years.

REQUEST FOR PRODUCTION NO. 25: Documents sufficient to show the amounts and

recipients of any distributions by PQPR to its members from 2014 through the present.

REQUEST FOR PRODUCTION NO. 26: Copies of your last inventory report.
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REQUEST FOR PRODUCTION NO. 27: Copies of any and all payments made for security

services for the last two years.

REQUEST FOR PRODUCTION NO. 28: Copies of any and all advances made or received to

or from any other entity or individual for the last four years.

REQUEST FOR PRODUCTION NO. 29: Documents sufficient to show the source(s) and

amounts of PQPR’s initial capital contributions.

REQUEST FOR PRODUCTION NO. 30: All written agreements and term sheets between

PQPR and its product providers.

REQUEST FOR PRODUCTION NO. 31: Any agreements between PQPR and any other entity

related to invoice factoring services.

REQUEST FOR PRODUCTION NO. 32: Monthly bank statements for PQPR from June 2014

through the present.

REQUEST FOR PRODUCTION NO. 33: Complete copies of the books and records

maintained by PQPR in the ordinary course of its business for 2014 through the present.
